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                            THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 JOHN DOE,                                           )    Case No. 2:21-cv-04766-MHW-EPD
                                                     )
                 Plaintiff,                          )   Judge Michael H. Watson
                                                     )
 V.                                                  )    Chief Magistrate Judge Elizabeth P.
                                                     )    Deavers
 THE OHIO STATE UNIVERSITY,                          )
                                                     )

 ________________
                Defendant.                           )
                                                     )

            STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

        Pursuant to Fed. R. Civ. Pro. 41(a)(l)(A)(ii), Plaintiff John Doe and Defendant The Ohio

 State University ("OSU") hereby stipulate to the DISMISSAL WITH PREJUDICE of any and

 all claims which have been, could have been, or should have been asserted against OSU in the

 Complaint (Doc. 1). The parties will bear their own attorneys' fees, costs and expenses.

 Stipulated and Agreed To By:

 Attorney for Plaintiff:                         Attorney for Defendant:

   /s/ John Camillus                             DAVID A. YOST
 John C. Camillus (0077435) (Trial Attorney)     ATTORNEY GENERAL OF OHIO
 Law Offices of John C. Camillus, LLC
 P.O. Box 141410                                  /s/ Michael Carpenter
 Columbus, OH 43214                              Michael H. Carpenter (0015733) (Trial Attorney)
 (614) 992-1000                                  Timothy R. Bricker (0061872)
 (614) 559-6731 (facsimile)                      David J. Barthel (0079307)
 jcamillus@camilluslaw.com                       Carpenter Lipps & Leland LLP
                                                 280 Plaza, Suite 1300
 Mitchell Schuster, Esq.                         280 North High Street
 Benjamin D. Bianco, Esq.                        Columbus, OH 43215
 Meister Seelig & Fein LLP                       Phone: (614) 365-4100
 125 Park Avenue, 7th Floor                      Fax: (614) 365-9145
 New York, New York 10017                        carpenter@carpenterlipps.com
 (212) 655-3500                                  bricker@carpenterlipps.com

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 (212) 655-3535 (facsimile)             barthel@carpenterlipps.com
 ms@msf-law.com
 bdb@msf-law.com                        Special Counsel for Defendant The Ohio State
                                        University




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                                 CERTIFICATE OF SERVICE
        I certify that a copy of the foregoing was filed electronically on August 5, 2022. Notice

 was sent by operation of the Court's electronic filing system to all other counsel who have

 entered an appearance and any parties who have entered an appearance through counsel. The

 parties may access this filing through the Court's ECF system.


                                              /s/ John Camillus
                                             John C. Camillus
                                             Trial Attorney for Plaintiff




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